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                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA
                                                     CRIMINAL NO. 10-104-JJB
VERSUS

HENRY L. JONES, ET AL.

               RULING ON 404(b) EVIDENCE OF PRIOR CONVICTIONS

       Before the Court are several notices of the government’s intent to introduce evidence

under Fed. Rule Evid. 404(b). Specifically, the government has introduced notices of prior

convictions as to the following individuals who remain in this case:

       (1) Henry Jones, for his convictions in two related health care fraud matters: United

           States v. Ngari, No. 10-cr-060-JJB and United States v. McKenzie, No. 11-cr-009-

           JJB;

       (2) Chikenna Jones, for her conviction in the McKenzie trial;

       (3) Sofjan Lamid, for his conviction in the Ngari trial;

       The Court ordered defendants to state their opposition to the government’s notices (Doc.

283), and defendants Karen Rayburn, Henry Jones, and Beulah Richardson did so. (See Docs.

286-88; see also Memo. in Opp. by Chikenna Jones, Doc. 92 in McKenzie, 11-cr-009-JJB).

Because of the overlapping nature of the criminal charges and the defendants in the McKenzie

case and this case (hereinafter “Jones”), the Court held a joint hearing on October 11, 2011.

(Doc. 296). Because the McKenzie trial took place on November 7-10, 2011, the Court ruled on

the admissibility of the evidence in McKenzie (Doc. 149 in 11-cr-009-JJB) but deferred ruling on

the merits of the notices in this case until after the outcome of the McKenzie trial. That case has

now completed and the defendants therein—Henry Jones and Chikenna Jones—were found


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guilty. Jo Ann Francis, Mary Griffin, and Stephanie Dangerfield, who were originally McKenzie

defendants as well, all plead guilty before trial to charges in both McKenzie and this case. (See

Docs. 299-300 (Dangerfield), 301-02 (Griffin), and 304-05 (Francis)). The government now

seeks to introduce evidence of the aforementioned convictions and moves in limine to obtain a

ruling from this Court in advance of trial in this matter. (Doc. 306).

       For the same reasons that the Court declined to permit introduction of the extrinsic

indictments and convictions in Ngari and McKenzie, the Court likewise declines to admit the

convictions of Henry Jones, Chikenna Jones, and Sofjan Lamid from the prior Ngari and

McKenzie trials into evidence in this matter.

       Federal Rule of Evidence 404(b) states, in relevant part, that “[e]vidence of other crimes,

wrongs, or acts is not admissible to prove the character of a person in order to show action in

conformity therewith. It may however, be admissible for other purposes, such as proof of …

intent, … [or] knowledge….” As the Fifth Circuit has stated, “[e]vidence of prior offenses is

admissible if it is (1) relevant to an issue other than defendant’s character, and (2) the

incremental probative value of the evidence is not substantially outweighed by the danger of

unfair prejudice to the defendant.” United States v. Carrillo, -- F.3d --, No. 10-50243, 2011 WL

4921293, at *12 (5th Cir. Oct. 18, 2011) (quotations and citation omitted). The government is

correct in noting that the convictions are relevant to issues other than the characters of the

Joneses and Lamid. The Ngari and McKenzie convictions show they had knowledge sufficient

to conspire to defraud Medicare and to pay and receive health care kickbacks. Moreover, since

all have pled not guilty in this case, they have put their knowledge and intent to commit the

crimes charged in this indictment into issue. Id.



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       When, as here, prior convictions closely parallel the charged crimes, introduction of the

convictions becomes at once more probative and more prejudicial. It is more probative, of

course, for obvious reasons: the mechanics of the scheme for which the defendants were

previously convicted are quite similar to the scheme charged here. In fact, the only relevant

difference in the indictments involved which position Henry and Chikenna Jones occupied

within the medical supply corporations they used to allegedly defraud Medicare. The offenses

for which they were convicted are identical to the offenses charged here – both Ngari and

McKenzie charged the exact same crimes of conspiracy to commit health care fraud and

conspiracy to pay and receive health care kickbacks. But for the same reasons the convictions

retain high probative value, they also become more prejudicial. The similarity of the crimes for

which the defendants have been previously convicted and for which they are currently charged

presents a danger that the jury will convict them of the charged offenses because of their prior

conviction. See United States v. Beechum, 582 F.2d 898, 914 (5th Cir. 1978) (en banc). The

probative value of the convictions are also somewhat dampened by the fact that the government

will be introducing “inextricably intertwined” evidence in this case that was also introduced in

the Ngari and McKenzie cases, which resulted in the convictions at issue in this ruling. The

Court finds the incremental probative value of the conviction itself is substantially outweighed

by the danger of unfair prejudice to Henry Jones, making the evidence excludable under Fed.

Rule Evid. 403.

       Moreover, the other Rule 403 dangers of confusing the jury, unduly delaying the trial

length, needlessly wasting time, and avoiding unfair prejudice to the previously convicted

defendants (not to mention the other defendants) in this case appear particularly high here. Due

to the overlapping cast of characters and the similarity of the allegations in this indictment when

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compared to the schemes in Ngari and McKenzie, it may well be difficult for a jury of lay

persons to appreciate the intricate distinctions between the various conspiracies. This Court has

already made a ruling in the McKenzie that there exists legally relevant distinctions between the

conspiracies charged in Ngari, McKenzie and this case, but those differences may be lost on the

lay jurors who will determine the facts in this case. When combined with the existence of

inextricably intertwined evidence from the previous trials, this Court is firmly convinced that

introductions of prior convictions on charges extremely similar to those at issue here will confuse

the jury. Moreover, the lengthy caveats which will be required of counsel throughout the trial

and of the Court in its instructions during and at the close of trial will not be insubstantial. The

prior Ngari and McKenzie cases contained their fair share of undue delay, as every trial

inherently does, but the Court does not wish to prolong compound those delays by adding a layer

of complexity to this case that need not exist.

       This Court refused to allow the extrinsic evidence of the indictments from this case and

McKenzie into the Ngari trial, yet the government obtained convictions on all counts in that case.

Similarly, this Court refused to allow the extrinsic evidence of the Ngari convictions and the

indictments from this case into the McKenzie case, and again the government obtained

convictions on all counts in that case. There is thus no reason to think the government cannot

continue to prosecute this case in an effective manner without the 404(b) evidence it seeks to

introduce. And if the trend holds, it will be able to obtain convictions in this matter without

resort to extrinsic evidence of prior convictions which will only serve to prolong the trial,

confuse the jury, and potentially prejudice both the previously-convicted defendants and the

others in this case. This Court, of course, neither expresses an opinion as to the desirability of

that occurrence nor offers a forecast as to its likelihood, but those are the facts before the Court.

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       The Court is not unsympathetic to the government’s position. But this Court is vested

with broad discretion to assess admissibility under Fed. Rules Evid. 403 and 404, United States

v. Morris, 79 F.3d 409, 412 (5th Cir. 1996), and it must exercise that discretion in a manner it

deems the interests of justice require. When judicial resources, the expeditious administration of

justice, and concerns for effective jury fact-finding clearly point to one outcome, the Court must

have persuasive reasons to depart from that path. The government has made its case, but this

time it comes up short.

                                   CONCLUSION; ORDER

       Accordingly, the Court finds the 404(b) evidence proffered by the government

INADMISSIBLE in this case.

       Signed in Baton Rouge, Louisiana, on December 20, 2011.



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                                        JAMES J. BRADY, DISTRICT JUDGE
                                        MIDDLE DISTRICT OF LOUISIANA




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